    Case: 4:05-cr-00095-SA-DAS Doc #: 1219 Filed: 05/12/08 1 of 2 PageID #: 3231




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION


UNITED STATES OF AMERICA


VERSUS                                                      CRIMINAL ACTION NO. 4:05CR95


MERCEDES GALINDA IBARRA, et al.


                                              ORDER

       This cause is before the Court on defendant Mercedes Ibarra’s Motion for Continuance of

Trial [1217]. The Court, having reviewed the motion and being otherwise fully advised in the

premises, finds as follows, to-wit:

       The trial of this matter is currently set for May 27, 2008. Ibarra’s counsel seeks a

continuance in order to confer with his client, complete additional investigation and facilitate the

filing and hearing of pretrial motions. The government does not oppose the requested continuance.

Based on the foregoing, the Court finds that the motion is well-taken and should be granted.

       The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. §

3161(h)(8)(A), the period of delay from May 27, 2008 until the new trial date to be set in this matter.

The time is excludable under subsection (h)(8)(A) because, given the circumstances described

above, a continuance is necessary to afford defendant additional time to investigate and prepare a

defense to the charges at issue. Therefore, the ends of justice served by the granting of this

continuance outweigh the best interests of the public and the defendant in a speedy trial.

       IT IS, THEREFORE, ORDERED AND ADJUDGED that

       1.      The defendant’s Motion for Continuance of Trial [1217] is GRANTED;
Case: 4:05-cr-00095-SA-DAS Doc #: 1219 Filed: 05/12/08 2 of 2 PageID #: 3232




  2.     That the trial of this matter is continued until Monday, July 28, 2008 at 9:00 a.m. in

         the United States District Courthouse in Greenville, Mississippi;

  3.     That the delay from May 27, 2008 until July 28, 2008 is excluded as set out above;

  4.     That the deadline for filing pretrial motions is July 7, 2008;

  5.     That the deadline for submitting a plea agreement is July 14, 2008.

  SO ORDERED, this the 12th day of May, 2008.

                                                /s/ W. Allen Pepper, Jr.
                                                W. ALLEN PEPPER, JR.
                                                UNITED STATES DISTRICT JUDGE
